         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 1 of 36 Page ID #:938


                  STEVEN T. GUBNER -Bar No. 156593
                  LARRY W. GABRIEL -Bar No.68329
                ~ NICHOLAS A. ROZANSKY -Bar No. 219855
                  JEFFREY A. KOBULNICK -Bar No. 228299
                  EZR.A BRUTZKUS GUBNER LLP
                  21650 Oxnard Street, Suite 500
                  Woodland Hills, CA 91367
                  Telephone( (8j8)827-9000
                  Facsimile: 818 827-9099
                  Email:    sgubner ebg-law.com
                            lgabriel ebg-law.corn
                            nrozans     ebg-law.com
                            jkobulnic ebg-law.com
                Attorneys f~or Plaintiff
                JONATHAN D. ROSE,M.D.,PH.D.
                                     UNITED STATES DISTRICT COURT
           io
                                   CENTRAL DISTRICT OF CALIFORNIA
           ii
           12   JONATHAN D. ROSE, M.D.,PH.D.,            Case No. CV 11-7838-DDP(AJWx)
                an individual,
           13                                            SECOND DECLARATION OF
                                Plaintiff,               1vICHOLAS A.ROZANSKY IN
           14                                            SUPPORT OF EXPARTS
                  v.                                     APPLICATION FOR ENTRY OF
           is                                            STIPULATED JUDGMENT
              MICHAEL ENRIQUEZ~ an individual,
           16 JESUS ENRIQLTEZ, an individual,
              MPD MANAGEMENT,INC., a                     Judge: Honorable Dean D.Pregerson
           i~ Nevada corporation dba LHOP                       Ctrm. 3
              CONSULTING,KIM MIZUNO,an
           is individual, and DOES 1-10, inclusive,
           19                   Defendants.
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                                                                        CASE NO.CVI1-7838-DDP(AJWX)
                       SECOND DECLARATION OF NICHOLAS A. ROZANSKY IN SUPPORT OF EXPARTS APPLICATION
654533
         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 2 of 36 Page ID #:939


            i                     DECLARATION OF NICHOLAS A.ROZANSKY
            2   ~ I,1vICHOLAS A. ROZANSKY,declare as follows:
            3           1.    I am a duly licensed attorney admitted to practice before all courts of t]~ e
            4    State of California and before this United States District Court. I am a partner in the
            5    law firm ofEzra Brutzkus Gubner LLP, counsel ofrecord of Jonathan ~. Rose, M.I7..
            6   Ph.D., plaintiff in the above-captioned action. I have personal knowledge ofthe facts
                 set forth in this declaration, and if called as a witness, I could and would testify
            s competently to such facts under oath. I submit this declaration in support ofthe
            9    Plaintiff's Ex Parte Application for Entry of Stipulated Judgment.
           io          2.     On September 22, 2011,I caused to be filed the complaint in this matter,
           ii which sought actual damages for Jonathan D. Rose, M.D.,Ph.D.'s("Plaintiff') in the
           12    amount of $3,606,267.54, against Defendants generally, and Michael Enriquez
           13   ("Enriquez")in particular. That amount was based upon hard documentary evidence.
           14    including bank wire statements, credit card statements, and checks, which showed
           is money flowing out to the Defendants.
           16          3.     Throughout the disclosure and discovery process in this case, it was clear
           1~   that Defendants, and Enriquez in particular, had no defenses to the complaint, and in
           is fact had engaged in the same illegal acts to deprive at least three other individuals of
           19    millions of dollars over the last several years. In fact, there was an ongoing fraud
           ao arbitration between Enriquez and one such fraud victim, taking place in Los Angeles
           2l    at the same time as this litigation. By the tir_me the parties engaged in mediation,
           as Plaintiff's counsel estimated that after recovery of interest on the principal loss of
           23   $3,606,267.54, attorneys' fees, costs, and punitive damages at trial, the award against
           24   Enriquez would be in the range of$5,000,000-$10,000,000.
           2s          4.     On March 19, 2012,the parties to this case participated in a mediation
           26   with the Hon. Dickran Tevrizian (Ret.). At that mediation, attended by the
           a~ undersigned, Larry W. Gabriel, Esq., Gary Stern, Esq., on behalf ofPlaintiff, and Alex
           Zs Weingarten, on behalf of Defendants, I never met with Mr. Weingarten or Enriquez


                                                                         CASE NO. CV11-7838-DDP(AJWX)
                        SECOND DECLARATION OF NICHOLAS A. ROZANSKY IN SUPPORT OF EXPARTS APPLICATION
654533
         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 3 of 36 Page ID #:940


            i and participated merely to present case facts to Judge Tevrizian. The reason for this is
            a that I had been personally served with a lawsuit by Enriquez at my home on Saturday,
            3    March 17, 2012, as had Plaintiff, thereby creating the appearance of a potential
            4    conflict between me and the Plaintiff. The amount of Enriquez' claim in that case was
            s $3,000,000. The circumstances ofthe case at that point in time were briefed to the
            6    Court at Docket No. 57.
                       5.     At the mediation, it was agreed that Enriquez would pay to Plaintif~the
            a amount of $650,000, but that Plaintiff was entitled to a judgment offraud and deceit
            9    against Enriquez should Enriquez fail to pay. (Rozansky Declaration in Support ofEx
           io Parte Application, E~iibit "1.") The compromised amount of$650,000 was agreed to
           ii in large part to permit Plaintiffto move on from this sad chapter of his life without a
           12   protracted trial.
           13          6.    Following the mediation, I created the first draft ofthe Stipulation for
           14   Entry of Judgment(the "Stipulation")and emailed it to Mr. Weingarten. Shortly
           is thereafter, on Apri12, 2012, Mr. Weingarten e-mailed me his changes to the
           16   Stipulation. A true and correct copy of Mr. Weingarten's Apri12, 2012 e-mail with
           i~ his edits to the Stipulation is attached hereto as E~ibit "1."
           is          7.    After accepting the majority of Mr. Weingarten's changes to the
           19   !Stipulation, and sending it back to him by e-mail for review, Mr. Weingarten e-mailed
           20 me again on Apri13, 2012, with further changes to the Stipulation. A true and correct
           21   copy of Mr. Weingarten's Apri13,2012 e-mail with his changes to the Stipulation is
           22   attached hereto as Exhibit "2."
           23         8.     At no time in this case, or in any case, have I ever made a threat of
           24   criminal prosecution. I made no such threats to Enriquez directly, or to his counsel
           as Weingarten, who testifies that I did so at mediation notwithstanding the fact that I
           26   never even spoke to him there. I never conveyed a threat to Enriquez through Judge
           27   Tevrizian. Moreover,I have never spoken to Enriquez.
           28



                                                                        CASE NO. CV11-7838-DDP(AJWX)
                       SECOND DECLARATION OF NICHOLAS A. ROZANSKY IN SUPPORT OF EXPARTE APPLICATION
654533
         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 4 of 36 Page ID #:941


                      9.     With regard to the accusation that Enriquez violated the Mir:   i 4


            2   among other crimes, that was made in deposition by Enriquez's former private
            3   investigator, Robert Clymer, who is a retired FBI Special Agent.
            4         I declare under penalty of perjury under the laws ofthe United States of
            5   America that the foregoing is true and correct.
            6         Executed this 13th day of September 2012, at Woodland Hills, California.
            7

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            9                                                          LAS A. ROZANSKY

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                                                                        CASE NO. CV11-7838-DDP(AJWX)
                       SECOND DECLARATION OF NICHOLAS A. ROZANSKY IN SUPPORT OF EXPARTE APPLICATION
654533
Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 5 of 36 Page ID #:942




                            Exhibit 1
       Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 6 of 36 Page ID #:943


Rhonda Soll

From'                                Alex Weingarten <aw@wbllp.com>
Sent:                                Monday, April 02, 2012 1128 AM
To:                                  Nicholas A. Rozansky
Cc:                                  Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject:                             RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of
                                     Settlement
Attachments:                         Stip re Entry of Judgment(AW Edits).docx


My edits.

From: Nicholas A. Rozansky [mailto:nrozansky@ebg-law.com]
Sent: Monday, March 26, 2012 2:13 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

The streamlined stipulation is 4~~ached. Please send back your comments.

Nick




Nicholas A. Rozansky, Esq.
      ~     ~      `~
        T               N

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law.com/disclaimer.htm

From: Alex Weingarten [mailto:aw@wbllp.coml
Sent: Friday, March 23, 2012 5:30 PM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

This document is fine but yes, the stip should be much shorter s~ I will hold off my comments on that for now.

From: Nicholas ~4. Rozansky[mailto:nrozanskyCc~ebg-law.coml
Sent: Friday, March 23, 2012 5:26 PM
To: Alex Weingarten
     Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 7 of 36 Page ID #:944

Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex,

attached is the proposed judgment. Before you redline the stip, let me streamline it a bit as it is so duplicative of the
settlement, which isn't necessary.

~~



Nicholas A. Rozansky, Esq.
                  ~~
 ~M~       +~~
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law.com/disclaimer.htm

From: Nicholas A. Rozansky
Sent: Friday, March 23, 2012 3:59 PM
To:'Alex Weingarten'
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D v. Michael Enriquez et al /Notice of Settlement

Attached is the draft stipulated for entry of judgment. Proposed Judgment to follow.

From: Alex Weingarten [mailto:awCa~wbllp.com]
Sent: Friday, March 23, 2012 2:51 PM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice or Settlement

Few additional minor edits, these are in blue. Let me know once you have the draft stipulated judgment and we can get
this wrapped up.

Thanks.

From: Nicholas A. Rozansky [mailto:nrozansky@ebg-law.com]
Sent: Friday, March 23, 2012 8:35 AM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement
       Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 8 of 36 Page ID #:945

Alex, the problem with the change to section 7.~ is that a depo can be on 10 days' notice, and subpoena to appear at
trial on even less notice. We need to hold that at 10 days. Otherwise the changes are fine. See the attached.

I'll send the proposed stipulated judgment shortly.



Nicholas A. Rozansky, Esq.


           t
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From: Alex Weingarten jmailto:awCa~wbllp.com)
Sent: Thursday, March 22, 2012 6:00 PM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

My edits. I have not reviewed with my clients yet so we reserve the right to make additional changes. Let me know if
these are fine with you and I will discuss with my clients. Also, we need to see the proposed stipulated judgment. An
important point though, the stipulated judgment is just with Mike, not Jesus. The deal is that you do not need to dismiss
Jesus with prejudice from the case until the payments are made but only Mike is executing the stipulated judgment.

From: Nicholas A. Rozansky jmailto:nrozansky@ebg-law.coml
Sent: Thursday, March 22, 2012 5:35 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex,

Attached is the settlement agreem?nt. If you have changes, send them back to me in a redline. If not, please have it
executed.

Thank you,

Nick



Nicholas A. Rozansky, Esq.
       Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 9 of 36 Page ID #:946




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From: Alex Weingarten [mailto:awCa?wbllp.com]
Sent: Thursday, March 22, 2012 3:19 PM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Sorry, got sidetracked with a filing in another matter. See attached.

From: Nicholas A. Rozansky jmailto;nrozanskyCa~eby-law.coml
Sent: Thursday, March 22, 2012 3:12 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex,

Is your assistant sending the fully executed stipulation for settlement?

Nick



Nicholas A. Rozansky, Esq.

~+

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    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 10 of 36 Page ID #:947

From: Nicholas A. Rozansky
Sent: Thursday, March 22, 2012 11:13 AM
To:'Alex Weingarten'
Cc: Larry Gabriel; Pc@wblip.com
Subject: RE: 2950.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Please send the agreement. Then I'll file as is.

From: Alex Weingarten [mailto:aw@wbllp.com]
Sent: Thursday, March 22, 2012 11:07 AM
To: Nicholas A. Rozansky; Eric Carlson
Cc: Larry Gabriel
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Few mare changes. I have everyone's signature on the short form, I will have my assistant email it to you.

From: Nicholas A. Rozansky [mailto:nr~zansky@ebg-law.coml
Sent: Thursday, March 22, 2012 10:55 AM
To: Alex Weingarten; Eric Carlson
Cc: Larry Gabriel
Subject: RE: 2850.00: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriyuez et al /Notice of Settlement

Here you go.



Nicholps A. Rozansky, Esq.

  ~+
  ~
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law.com/disclaimer.htm

From: Alex Weingarten jmailto:awCa~wbllp.com]
Sent: Thursday, March 22, 2012 10:51 AM
To: Nicholas A. Rozansky; Eric Carlson
Cc: Larry Gabriel
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice.of Settlement

OK, please let me see final before it gets filed. Thanks.

From: Nicholas A. Rozansky Imailto:nrozansky@ebg-law.coml
Sent: Thursday, March 22, 2012 10:51 AM
To: Alex Weingarten; Eric Carlson
    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 11 of 36 Page ID #:948

Cc: Larry Gabriel
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

I'll just add a sentence that the remaining parties will request that the Court retain jx under 664.6. Otherwise, I'll leave
your changes in.




Nicholas A. Rozansky, Esq.

                      "'~
~~1

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From: Alex Weingarten jmailto:aw@wbll~com]
Sent: Thursday, March 22, 2012 10:?9 AM
To: Nicholas A. Rozansky; Eric Carlson
Cc: Larry Gabriel
Subject: RE: 2850.003: Jonathan G. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Thanks. I think it should be much more streamlined. Plus, it is not entirely accurate. The entire case is being dismissed
now — Mizuno with prejudice and the other defendants without with the Court retaining jurisdiction pursuant to CCP
664.6 to enforce the agreement. My edits attached.

From: Nicholas A. Rozansky [mailto:nrozansky@ebg-law.com]
Sent: Thursday, March 22, 2012 10:22 AM
To: Alex Vi/eingarten; Eric Carlson
Cc: Larry Gabriel
Subaect: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex,

Attached is the Notice of Settler:~ent, to be filed today. Please let me know if you have any changes.

Nicholas A. Rozansky, Esq.



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    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 12 of 36 Page ID #:949

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cannot be used, for the purpose of(i) avoiding penalties under the Internal Revenue Code or (ii) promoting; marketing, or
recommending to another party any transaction or matter addressed herein.




Nicholas A. Rozansky, Esq.



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         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 13 of 36 Page ID #:950


                 STEVEN T. GUBNER -Bar No. 156593
                 LARRY W. GABRIEL -Bar No.68329
            2    NICHOLAS A. ROZANSKY -Bar No. 219855
                 EZRA BRUTZKU S GU~iNER LLP
            3    21650 Oxnard Street, Suite 500
                 Woodland Hills, CA 91367
            4    Telephone: 818 827-9000
                 Facsimile:(8 8) 27-9099
            5    Email:    sgubner ebg-law.com
                           lgabriel ebg-law.com
            6              nrozans @ebg-law.com
            7

            s Attorneys f~or Plaintiff
                 JrJNATHAN D. ROSE,M.D.,PH.D., an individual,
            9
                                          UNITED STATES DISTRICT COURT
           io
                                        CENTRAL DISTRICT OF CALIFORNIA
           ~t
           ~z
                 JONATHAN D. ROSE,M.D.,PH.D.,                   Case No. CV 11-7838-DDP(AJWx)
           13    an individual,
                                                             STIPULATION FOR ENTRY OF
           ~.4                      Plaintiff,               JUDGMENT
           15       V.
                                                             Judge: Honorable Dean D.Pregerson
           16    MICHAEL ENRIQUEZ,an individual,
           i~                       Defendant.
           ,8
           19

           20

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           24            This Stipulation re: Entry of Judgment("Stipulation")is entered into by and
           2S    between Defendant Michael Enriquez(hereinafter referred to as "Defendant"), with
           26    approval as to form through his counsel ofrecord, Alex M. Weingarten, Esq. cf
          27     Weingarten Brown, LLP, and Plaintiff, Jonathan D. Rose, M.D.,Ph.D.(hereinafter
          28 referred t~ as "Plaintiff'), with approval as to form through its counsel ofrecord,


                                                            1
                                                                            CASE NO. CV11-7838-DDP(AJWX)
564110
         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 14 of 36 Page ID #:951



                ~ Nicholas A. Rozansky, Esq., ofEzra Brutzkus Gubner, LLP.
                        Plaintiff has heretofore filed its Complaint for Fraud and Conversion, and also
                for Conspiracy to Commit Fraud, Violations ofthe Racketeer Influenced Corr~~~ti
                Organizations Act(RICO) 18 U.S.C. §§ 1961-1968, Aiding and Abetting Fraud,
                Breach ofFiduciary Duty, and Money Had and Received, against Defendant and
                others in the above-entitled action.
                        In order to fully and finally settle and resolve this action without further
                litigation, Plaintiff and Defendant have entered into this Stipulation.
                        NOW,THEREFORE,the parties hereto mutually agree and stipulate as
           to follows:
           1t            1       IT IS HEREBY STIPULATED AND AGREED that Defendant shall not
           12   contest Entry of Judgment(in the form attached hereto as Exhibit "1")against him in
           13   the sum of$3~J0o~oo0.00           ~itis~ v~i~~r~~+~ran ~' r~~~in +~~ nm~i~v~tc+ ~oa ns~+~ot~ ivy ~nn1-~~s-~ 7




           14             representing the compromised amounts due and owing from Defendant to
           15   Plaintiff.
           16           2.       IT IS FURTHER STIPULATED AND AGREED that the Entry of
           i~ Judgment discussed herein and attached hereto as Exhibit"1" can be entered only
           is fallowing a default under the Confidential Settlement Agreement and Mutual Release,
           19   entered into as of March 19. 2012, among Plaintiff, Defendant, Jesus Enriquez, MPD
           20 Management, Inc., a Nevada corporation d/b/a LHOP Consulting, and Kim Mizuno
           ai ("Settlement Agreement")that is not cured by an expressly permissible cure under the
           22   Settlement Agreement("Default"). For the avoidance of doubt Plaintiff is not
           z3 entitled to enter Jud meant against Defendant unless there has been a Default ofthe
           24   Settlement Agreement and not under and other circumstances.
           25

          26    ■~c~-~~a~'Iia~fI~~lai~~~J~~:
                                           l~~l~l~tiit~l~J~~l~I~~S~R~I    Jt~l!~~n)A~Jl7~1~1~~.1~!1PJf=1}S!7_R~LI
                                                                     ~~~nl~




          27

          28    ~J~~l~l7~~~19Si~l.~I~fJI~~►\t\91\~l!f9~y9~t7~~~4~\3~It~~11[wT„~L!s~JL~~!n~a
                                                                                         - +~l~~t~9~~t~'Lrl
                                                                                              -   •   •  w \4Rf1~1:1~1~5!1 <l~




                                                                                               CASE NO. CV11-7838-DDP(AJWX)
564110
         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 15 of 36 Page ID #:952




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           24        6.       IT IS FURTHER STIPULATED AND AGREED that upon a Default
           2s „„,a°r +~,° c~°~'°~~,°r*- -n-a-----
                                           ,~r°°~,.,°~*-~ plaintiff may in his sole discretion then apply ex
                                                  ---
           26            for entry ofthe Judgment Pursuant to Stipulation (E~iibit"1" hereto)forthwith
           27 ~~ and ex parte for issuance of a Writ ofExecution for the full amount specified in the
           28 ~~ Judgment based upon Plaintiff or Plaintiff's attorney's Declaration that there has been



                                                                                                  CASE NO. CV11-7838-DDP(AJWX)
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         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 16 of 36 Page ID #:953



                a Default. Ex parte notice needs be given to Defendant's counsel pursuant to such
            2   notice as may then be required.
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           14              9.         IT IS FURTHER STIPULATED AND AGREED that this Stipulation
           is may not be modified or amended except by written instrument, signed by Plaintiff and
           l6   Defendant and their attorneys, expressing such amendment or modification.
           i~ Defendant warrants, promises and represents that in executing this Stipulation, he is
           l8   not relying upon any oral or other written representation, promise or statement given
           19   by Plaintiff, his employees, officers, agents or attorneys and that die has the lawful
           Zo authority to enter into said Stipulation.
           21              10.        IT IS FURTHER STIPULATED AND AGREED that Defendant, at all
          Za times material hereto, has had the opportunity to cons alt with legal counsel of his own
          23    choosing concerning the rights affected by this Stipulation, the form and content of
          24    this Stipulation, and the advisability of executing it.
          2s               1 1.       IT IS FURTHER STIPULATED AND AGREED that in the event that
          26    any provision ofthis Stipulation or portion thereof is held by a Court of competent
          a~ jurisdiction to be unenforceable andlor invalid, the validity and enforceability ofthe
          28 ~~ enforceable portion of any such provision and ofthe remaining prflvisions shall not be



                                                                                               CASE NO. CV11-7838-DDP(AJWX)
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            i ~ adversely affected.
           2    I ~~
            3 ~~

           4                12.       IT IS FURTHER STIPULATED AND AGREED that Defendant
            5   warrants and represents that the execution ofthis Stipulation represents a benefit to
           6    him and that he is aware that PLAINTIFF is expressly relying upon the warranties,
                representations, promises and statements made herein or in accordance with the terms
                hereof.
           9               13.        IT IS FURTHER STIPULATED AND AGREED that in the event
           io Defendant fully and timely performs all ofthe terms and condi±ions ofthe Settlemen~
           ti Agreement, and there has beep no Default thereunder, Plaintiff's counsel shall deliver
           12   to Defendant's counsel following ten(10) days after completion of all payments
           13   thereunder, a Stipulation for Dismissal, With Prejudice ofthe entire within action as to
           14   Defendant and Jesus Enriquez, duly executed by Plaintiff's counsel to be filed with
           15   the Court.
           16              14.        IT IS FURTHER STIPULATED AND AGREED that Defendant hereby
           i~ knowingly, intelligently and voluntarily waives all rights in this matter to a trial, a trial
           is by jury, an appeal, a motion to vacate judgment, a motion for a new trial, a collateral
           19   attack on the Judgment or any other rights and remedies that he may have now or ~t
          Zo any time hereafter to attack the Judgment entered in this matter, and said Judgment
          zi shall, upon its entry, be final for all purposes. -                                              ,'                .~
          22    ~el~tnt-~';~.~i~~~'R~~~€~-i~;                              e~-~~e~~       '~~-tee       o-~~e~^r r,,,w,., r,n~~z~
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          Zs               15.        IT IS FURTHER STIPULATED AND AGREED that the Plaintiff and
          26    Defendant, and each ofthem, have been advised by counsel as to the facts and law
          2~    with respect to entering into this Stipulation and knowingly and voluntarily enter into
          28 I the terms of this              Stipulation. Plaintiff and Defendant, and each ofthem, further



                                                                                                    CASE NO. CV11-7838-DDP(AJWX)
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                 knowingly and voluntarily waive the effect of Green Tree Financial Group, Inc. ~_
            2    Execute Sports, Inc.(2008) 163 Ca1.App.4th 495 and agree that the facts ofthis case
            3    are different than in the holding of Green Tree and the case is distinguishable. The
            4    Parties agree that there is no unenforceable penalty because the Judgment is for
            s $3,500,000.
            6           16.   IT IS FURTHER STIPLTI,ATED AND AGREED that this Stipulation.
                 has been prepared and its negotiation has been carried on by the joint effort ofthe
            a parties. This Stipulation and the language contained herein is to be construed simply
            9    and fairly and not strictly for or against any one or more ofthe parties. Each ofthe
           io individuals who are parties acknowledges and represents that he has read this
           ii Stipulation and understands all of its terms. Each other party acknowledges and
           12    represents that this Stipulation has been read and is understood by a person authorized
           ]3    to approve its terms and conditions on behalf of such party.
           14           17.   IT IS FURTHER STIPULATED A]~D AGREED that this Stipulation
           15    shall in all respects be interpreted and enforced and governed by the laws ofthe
           ~.6   United States and State of California applicable to instruments, persons, transactions,
           i~ entities, and subject matters.
           is           18.   IT IS FURTHER STIPULATED AND AGREED that venue in any cause
           19    of action accruing hereunder shall be in the Central District of California ofthe United
           ao States District Court, or, if applicable, the Central Division ofthe Superior Court,
           21    County of Los Angeles, State of California or the Central District of California ofthe
           22    United States Bankruptcy Court. This venue clause is mandatory, not permissive.
           23          19.    IT IS FURTHER STIPULATED AND AGREED that this Stipulation
           24    may be executed in counterparts. When the parties and counsel for each party have
           Zs signed and delivered at least one counterpart, each counterpart shall be deemed an
           26    original and, when taken together with the other counterparts, shall constitute one
          27     agreement which shall be binding and shall inure to the benefit of all parties.
          2a Photographic, email, facsimile copies of such signed counterparts may be used in Dieu



                                                                             CASE NO. CV 11-7838-DDP(AJWX)
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         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 19 of 36 Page ID #:956


            i ofthe originals for any reason.
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            4          20.    IT IS FURTHER STIPULATED AND AGREED that Defendant here~~~
            s knowingly, intelligently and voluntarily waives the provisions of Code of Civil
           6     Procedure § 583.310 et seq., and FRCP 41(b) pertaining to the mandatory time for
                 bringing an action to trial, the time limit for seeking a new trial, the computation of
            s time and the mandatory dismissal of an action for failure to bring an action to trial
            9    within the time prescribed in the aforesaid provisions.
           10

           111   ~ DATED:~~A~ril            ,2012
           12

           13

           14    MICHAEL EIV'RIQUEZ,Individually
           15

           16    DATED:        -e~A~ril    ,2012
           i~
           is
           19    JONATHAN D. ROSE,M.D.,PH.D.
           20

           21    APPROVED AS TO FORM ONLY:
           22

           23    DATED: ~I~~April          ,2012
           24    Weingarten ~-Brown LLP
           25    By:

           26          Alex M. Weingarten
           27
                       Attorney for Defendants

           28.
                 DATED: ~4~=c~April        ,2012


                                                                              CASE NO. CV 11-7838-DDP(AJWX)
564110
         Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 20 of 36 Page ID #:957


             i Ezra Brutzkus Gubner, LLP
            z By:
            3        Nicholas A. Rozansky
            4
                     Attorney for Plaintiff

            5

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Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 22 of 36 Page ID #:959
     Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 23 of 36 Page ID #:960


Rhonda Soll

From•                                        Alex Weingarten <aw@wbllp.com>
Sent:                                        Tuesday, April 03, 2012 620 PM
To:                                          Nicholas A. Rozansky
Cc:                                          Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject:                                     RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of
                                             Settlement
Attachments:                                 Stipulation re Entr~r of Judgment.docx


Few more edits. I accepted most of your edits but put some of what I had wanted back in. Payment instructions should
not be in here,for example. Thai is in the settlement agreement, not in this stip. Also, your reference to Rooney is
misplaced because it adds nothing here (but I left it in if you feel strongly ataut it}. The language at the end of
Paragraph 2 stays, there is no reason why you should object to it.

Please confirm this is final and then circulate a proposed form of judgment.

From: Nicholas A. Rozansky [m~ilto:nrozansky@ebg-law.com]
Sent: Tuesday, April 03, 2012 4:05 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Hlex,

The first attachment is the one with your edits. The second one has ours, accepting most of yours.

[►~7




~rra 8rritzkus Guhne~ l~~

t~iichoias A. Razansky, Esq.

Ezra Brutzkus Gubner LLB'
A Limited Liability Partnership

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Woodland Hills, CA 91387-4911

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n rozanskvCcDeba-law.com
www.ebq-law.com

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    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 24 of 36 Page ID #:961


From: Alex Weingarten jmailto:awCa~wbllp.coml
Sent: Monday, April 02, 2012 11:28 AM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

My edits.

From: Nicholas A. Rozansky jmailto:nrozanskyCu~ebg-law.comj
Sent: Monday, March 26, 2012 2:13 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

The streamlined stipulation is attached. Please send back your comments.

Nick



Nicholas A. Rozansky, Esq.




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law.com/disclaimer.htm

From: Alex Weingarten jmailto:aw@wbllp.coml
Sent: Friday, March 23, 2012 5:30 PM
To: Nicholas H. Rozansky
Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

This document is fine but yes, the stip should be much shorter so I will hold off my comments an that for now.

From: Nicholas A. Rozansky[mailto:nrozanskyCa~ebg-law.coml
Sent: Friday, March 23, 2012 5:26 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson;'gms@ffslaw.com'
Subject: R~: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex,
    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 25 of 36 Page ID #:962


Attached is the proposed judgment. Before you redline the stip, let me streamline it a bit as it is so duplicative of the
settlement, which isn't necessary.

Nick



Nicholas A. Rozansky, Esq.
                          4-•     1
       -      -


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From: Nicholas A. Rozansky
Sent: Friday, March 23, 2012 3:59 PM
To:'Alex Weingarten'
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Attached is the draft stipulated for entry of judgment. Proposed Judgment to follow.

From: Alex Weingarten [mailto:aw@wbllp.coml
Sent: Friday, March 23, 2012 2:51 PM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Few additional minor ed~~s, these are in blue. Let me know once you have the draft stipulated judgment and we can get
this wrapped up.

Thanks.

From: Nicholas A. Rozansky jmailta:nrozansky a ebg-law.coml
Sent: Friday, March 23, 2012 8:35 AM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: R~: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex, the problem with the change t~ section 7.3 is that a depo can be on 10 days' notice, and subpoena to appear at
trial on even less notice. We need to hold ghat at 10 days. Otherwise the changes are fine. Sep the attached.
       Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 26 of 36 Page ID #:963

I'll send the proposed stipulated judgment shortly.



Nicholas A. Rozansky, Esq.


                  ~'
          1              ~.
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From: Alex Weingarten ~mailto:awCa?wbllp.co:nl
Sent: Thursday, March 22, 2012 6:00 PM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.com
Subject: RE' 2850.003: Jonathan D Rose, M.D.. Ph.D. v. Michael Enriquez et al /Notice of Settlement

My edits. I have not reviewed with my clients yet so we reserve the right to make additional changes. let me know if
these are fine with you and I will discuss with my clients. Also, we need to see the proposed stipulated judgment. An
important point though, the stipulated judgment is just with Mike, riot Jesus. The deal is that you do not need to dismiss
Jesus with prejudice from the case until the payments are made but only Mike is executing the stipulated judgment.

From: Nicholas A. Rozansky jmailto:nrozansky@ebg-law.com]
Sent: Thursday, March 22, 2012 5:35 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson; gms@ffslaw.corr~
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex,

Attached is the settlement agreement. If you have changes, send them back to me in a redline. If not, Tease have it
executed.

Thank you,

Nick



Nicholas A. Rozansky, Esq.
    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 27 of 36 Page ID #:964




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From: Alex Weingarten jmailto:aw@wbllp.coml
Sent: Thursday, March 22, 2012 3:19 PM
To: Nicholas A. Rozansky
Cc: Larry Gabriel; Eric Carlson
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Sorry, got sidetracked with a filing in another matter. See attached.

From: Nicholas A. Rozansky [mailto:nrozansky@ebg-law.coml
Sent: Thursday, March 22, ?012 3:12 PM
To: Alex Weingarten
Cc: Larry Gabriel; Eric Carlson
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Alex,

Is your assistant sending the fully executed stipulation for settlement?

Nick



Nicholas A. Rozansky, Esq.




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    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 28 of 36 Page ID #:965

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From: Nicholas A. Rozansky
Sent: Thursday, March 22, 2012 11:13 AM
To: 'Alex Weingarten'
Cc: Larry Gabriel; ecCa~wbllp.com
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Please send the agreement. Then I'll file as is.

From: Alex Weingarten [mailto:aw@wbllp.com]
Sent: Thursday, March 2Z, 2012 11:07 AM
To: Nicholas A. Rozansky; Eric Carlson
Cc: Lary Gabriel
Subject: P.E: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Few more changes. I have everyone's signature on the short form, I will have my assistant email it to you.

From: Nicholas A. Rozansky [mailto:nrozansky@ebg-law.coml
Sent: Thursday, March 22, 2012 10:55 AM
To: Alex Weingarten; Eric Carlson
Cc: Larry Gabriel
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

Here you go.



Nicholas A. Rozansky, Esq.
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                  '.'~


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From: Alex Vl;eingarten ,[mailto:aw@wbllp.coml
Sent: Thursday, March 22, 2012 10:51 AM
To: Nicholas A. Rozansky; Eric Carlson
Cc: Larry Gabriel
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

OK, please let me see final before it gets filed. Thanks.
    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 29 of 36 Page ID #:966

From: Nicholas A. Rozansky jmailto:nrozanskv@ebg-law.coml
Sent: Thursday, March 22, 2012 10:51 AM
To: Alex Weingarten; Eric Carlson
Cc: Lary Gabriel
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Enriquez et al /Notice of Settlement

I'll just add a sentence that the remaining parties will request that the Court retain jx under 664.6. Otherwise, I'll leave
your changes in.



Nicholas A. Rozansky, Esq.



          P
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From: Alex Weingarten jmailto:aw@wbllp.com]
Sent: Thursday, March 22, 2012 10:39 AM
To: Nicholas A. Rozansky; Eric Carlson
Cc: Larry Gabriel
Subject: RE: 2850.003: Jonathan D. Rose, M.D., Ph.D. v. Michael Eniiquez et al /Notice of Settlement

Thanks. I think it should be much more streamlined. Plus, i~ is not entirely accurate. The entire case is being dismissed
now — Mizuno with prejudice and the uther defendants without with the Court retaining jurisdiction pursuant to CCP
664.6 to enforce the agreement. My edits attached.

From: Nicholas A. Rozansky jmailto:nrozansky a ebg-law.coml
Sent: Thursday, March 22, 2012 10:22 AM
To: Alex Weingarten; Eric Carlson
Cc: Larry Gabriel
Subject: 2850.003: Jonathan D. Rose, M.D., Ph.~. v. Michael Enriquez et al /Notice of Settlement

Alex,

Attached is the Notice of Settlement, to be filed today. Please let me know if you have any changes.

Nicholas A. Rozansky, Esq.
    Case 2:11-cv-07838-DDP-AJW Document 68 Filed 09/13/12 Page 30 of 36 Page ID #:967

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cannot be used, for the purpose of(i) avoiding penalties under the Internal Revenue Code or (ii) Promoting, marketing, o~
recommending to another tarty any transaction or matter addressed herein.




Nicholas A. Rozansky, Esq.


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            7

            a Attornye s~ f~or Plaintiff
              JONATHAN D. ROSE, M.D.,PH.D., an individual,
            9
                                         UNITED STATES DISTRICT COURT
           io
                                       CENTRAL DISTRICT OF CALIFOfZNIA
           ~~
           t?
                JONATHAN D. ROSE,M.D.,PH.D.,                Case No. CV 11-7838-DDP(ATWA-
           13   an individual,
                                                            STIPULATION FOR ENTFck nF
           14                      Plaintiff,               JUDGMENT
           15      V.
                                                            Judge: Honorable ~~an D.Pregerson
           16   MICHAEL ENRIQUEZ,an individual,
           i~                      Defendant.
           is
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           24           This Stipulation re: Entry of Judgment("Stipulation")is entered into by and
           25   between Defendant Michael Enriquez(hereinafter referred to as "Defendant"), with
          26    approval as to form through his counsel ofrecord, Alex M. Weingarten, Esq. of
          27    Weingarten Brown, LLP, and Plaintiff, Jonathan D. Rose, M.D.,Ph.D.(hereinafter
           as referred to as "Plaintiff'), with approval as to form through its counsel ofrecord,



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                Nicholas A. Rozansky, Esq., ofEzra Brutzkus Gubner, LLP.
                      Plaintiff has heretofore filed its Complaint for Fraud and Conversion, and a'so
                for Conspiracy to Commit Fraud, Violations ofthe Racketeer Influenced Corrupt
            4   Organizations Act(RICO) 18 U.S.C. §§ 1961-1968, Aiding and Abetting Fraud,
            5   Breach of Fiduciary Duty, and Money Had and Receiwed, against Defendant and
            6   others in the above-entitled action.
                      In order to fully and finally settle and resolve this action without further
            s litigation, Plaintiff and Defendant have entered into this Stipulation.
            9         NOW,THEREFORE,the parties hereto mutually agree and stipulate as
           io follows:
           ii         1.     IT IS HEREBY STIPULATED AND AGREED that Defendant shall not
           is contest Entry of Judgment(in the form attached hereto as E~ibit"1")against him in
           13   the sum of$3,SOO,C~00.00 representing the compromised amounts due and owing from
           14   Defendant to Plaintiff.
           is         2.    IT IS FURTHER STIPULATED AND AGREED that the Entry of
           16   Judgment discussed herein and attached hereto as E~iibit "1" can be entered only
           i~ following a default under the Confidential Settlement Agreement and Mutual Release,
           is entered into as of March 19. 2012, among Plaintiff, Defendant, Jesus Enriquez, MPD
           19   Management,Inc., a Nevada corporation d/b/a LHOP Consulting, and Kim Mizuno
           ao ("Settlement Agreement")that is not cured by an expressly permissible cure under the
           21   Settlement Agreement("Default"). For the avoidance of doubt, Plaintiff is not
           22   entitled to enter Judgment against Defendant unless there has been a Default ofthe
           23   Settlement Agreement and not under any other circumstances.
           24         3.     IT IS FURTHER STIPULATED AND AGREED that upon a Default
           2s under the Settlement Agreement Plaintiff may in his sole discretion then apply ex
           26        for entry ofthe Judgment Pursuant to Stipulation(E~ibit"1" hereto) forthwith
           27 and ex parte for issuance of a Writ ofExecution for the full amount specined in the
          28 Judgment based upon Plaintiff or Plaintiffs attorney's Declaration that there has been


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                a Default. Ex parae notice needs be given to Defendant's counsel pursuant to si Bch
            z ~ notice as may then be required.
            3          4.     IT IS FURTHER STIPULATED AND AGREED that this Stipulation
            4   may not be modified or amended except by written instrument, signed by Plaintiff and
            5   Defendant and their attorneys, expressing such amendment or modification.
            6   Defendant warrants, promises and represents that in executing this Stipulation, he is
                not relying upon any oral or other written representation, promise or statement gives
            s by Plaintiff, his employees, officers, agents or attorneys and that he has the lawful
            9   authority to enter into said Stipulation.
           ~o          5.     IT IS FURTHER STIPULATED AND AGREED that Defendant, at ~ l l
           it times material hereto, has had the opportunity to consult with legal counsel of his own
           12   choosing concerning the rights affected by this Stipulation, the form and content of
           13   ~ this Stipulation, and the advisability of executing it.
           14          6.     IT IS FURTHER STIPULATED AND AGREED that in the event t~-~.t
           15   any provision oftoffs Stipulation or portion thereof is held by a Court of competent
           16   jurisdiction to be unenforceable and/or invalid, the validity and enforceability of th~-
           i~ enforceable portion of any such provision and ofthe remaining provisions shall not bF
           is adversely affected.
           l9          7.     IT IS FURTHER STIPULATED AND AGREED that Defendant
           ao warrants and represents that the execution ofthis Stipulation represents a benefit to
           21   him and that he is aware that PLAINTIFF is expressly relying upon the warranties,
           22   representations, promises and statements made herein or in accordance with the terms
           a~ hereof.
           24          8.     IT IS FURTHER STIPULATED AND AGREED that in the event
           2s Defendant fully and timely performs all ofthe terms and conditions ofthe Settlement
          26    Agreement, and there has been no Default thereunder, Plaintiff's counsel shall deliver
          2~    to Defendant's counsel following ten(10) days after completion of all payments
          Zs thereunder, a Stipulation for Dismissal, With Prejudice ofthe entire within action as to


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            i Defendant and Jesus Enriquez, duly executed by Plaintiffs counsel to be filed with
            2   the Court.
            3         9.     IT IS FURTHER STIPULATED AND AGREED that Defendant hereby
            4   knowingly, intelligently and voluntarily waives all rights in this matter to a trial, a trial
            5   by jury, an appeal, a motion to vacate judgment, a motion for a new trial, a collateral
            6   attack on the Judgment or any other rights and remedies that he may have now or ai
                any time hereafter to attack the Judgment entered in this matter, and said Judgment
            s shall, upon its entry, be final for all purposes. Defendant knowingly, intelligently and
            9   voluntarily waives all his rights under Rooney v. VermontInvestment Corp.,(1973) 10
           io Cal. 3d 351, 110 Cal. Rptr. 353, 515 P2d 297, and any statute, rule or regulation
           ii affecting his rights hereunder.
           is          10.   IT IS FURTHER STIPULATED AND AGREED that the Plaintiff and
           13   Defendant, and each ofthem, have been advised by counsel as to the facts and law
           14   with respect to entering into this Stipulation and knowingly and voluntarily enter into
           ~5   the terms ofthis Stipulation. Plaintiff and Defendant, and each ofthem, further
           16   knowingly and voluntarily waive the effect of C-Teen Tree Financial Group, Inc. v.
           i~ Execute Sports, Inc.(2008) 163 Ca1.App.4th 495 and agree that the facts of this case
           is are different than in the holding of Green Tree and the case is distinguishable. The
           19   Parties agree that there is no unenforceable penalty because the Judgment is for
           ao $3,500,000.
           21         11.    IT IS FURTHER STIPULATED AND AGREED that this Stipulation
           22   has been prepared and its negotiation has been carried on by the joint effort ofthe
           23   parties. This Stipulation and the language contained herein is to be construed simply
           24   and fairly and not strictly for or against any one or more ofthe parties. Each ofthe
           25   individuals vc~ho are parties acknowledges and represents that he has read this
           26   Stipulation and understands all of its terms. Each other party acknowledges and
          2~    represents that this Stipulation has been read and is understood by a person authorized
          28    to approve its terms and conditions on behalf of such party.


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                      12.    IT IS FURTHER STIPULATED AND AGREED that this Stipulation
            a shall in all respects be interpreted and enforced and governed by the laws of the
            3   United States and State of California applicable to instruments, persons, transaction,,
            4   entities, and subject matters.
            5         13.    IT IS FURTHER STIPULATED AND AGREED that venue in any cause
            6   of action accruing hereunder shall be in the Central District of California ofthe United
                States District Court, or, if applicable, the Central Division ofthe Superior Court,
            s County ofLos Angeles, State of California or the Central District of California ofthe
            9   United States Bankruptcy Courr;. This venue clause is mandatory, not permissive.
           io         14.    IT IS FURTHER STIPULATED AND AGREED that this Stipulation
           ii may be executed in counterparts. When the parties and counsel for each party have
           12   signed and delivered at least one counterpart, each counterpart shall be deemed an
           13   original and, when taken together with the other counterparts, shall constitute one
           14   agreement which shall be binding and shall inure to the benefit of all parties.
           15   Photographic, email, facsimile copies of such signed counterparts may be used in lieu
           16   ofthe originals for any reason.
           i~         1 S.   IT IS FURTHER STIPULATED AND AGREED that Defendant hereby
           is knowingly, intelligently and voluntarily waives the provisions of Code of Civil
           19   Procedure § 583.310 et seq., and FRCP 41(b) pertaining to the mandatory time for
          zo bringing an action to trial, the time limit for seeking a new trial, the computation of
           ai time and the mandatory dismissal of an action for failure to bring an action to trial
          22    within the time prescribed in the aforesaid provisions.
          23

          24    DATED: April       ,2012
          25

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          27    MICHAEL ENRIQUEZ,Individually
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            i ~ DATED: April      ,2012
            a
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            4   JONATHAN D. ROSE,M.D.,PH.D.
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            6   P.PPROVED AS TO FORM ONLY:
            7

            s DATED: April        ,2012
           9    Weingarten Brown LLP
           io By:
           ti         Alex M. Weingarten
           l2
                      Attorney for Defendants

           13
                DATED: April      ,2012
           14
                Ezra Brutzkus Gubner,LLP
           15
                By:
           16
                      Nicholas A. Rozansky
           i~         Attorney for Plaintiff
           is
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